Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 1 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 2 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 3 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 4 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 5 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 6 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 7 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 8 of 48
Case 18-23437-MBK   Doc 4   Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document     Page 9 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 10 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 11 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 12 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 13 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 14 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 15 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 16 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 17 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 18 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 19 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 20 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 21 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 22 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 23 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 24 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 25 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 26 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 27 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 28 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 29 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 30 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 31 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 32 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 33 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 34 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 35 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 36 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 37 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 38 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 39 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 40 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 41 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 42 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 43 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 44 of 48




   7/3/18                               /s/ Jorge F. Coombs, Esq.
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 45 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 46 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 47 of 48
Case 18-23437-MBK   Doc 4    Filed 07/03/18 Entered 07/03/18 14:09:45   Desc Main
                            Document      Page 48 of 48
